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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF FLORIDA
  _________________________________________
                                            )
  AMERICANS FOR IMMIGRANT JUSTICE,          )
  INC.,                                     )
                                            )    CIVIL ACTION
                          Plaintiff,        )
                                            )    No. 19-________________
                 v.                         )
                                            )
  UNITED STATES DEPARTMENT OF               )
  HOMELAND SECURITY and UNITED              )
  STATES IMMIGRATION AND CUSTOMS            )
  ENFORCEMENT,                              )
                                            )
                          Defendants.       )
  _________________________________________ )


             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        1.      This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552

 et seq., seeking disclosure of records and policies of the United States Immigration and Customs

 Enforcement (“ICE”), a division of the United States Department of Homeland Security (“DHS”),

 related to those individuals who turn 18 years of age while in the custody of the Office of Refugee

 Resettlement (“ORR”)(referred to herein as “age-outs”).

        2.      Americans for Immigrant Justice, Inc. (“AI Justice”) seeks declaratory, injunctive,

 and other appropriate relief with respect to Defendants’ unlawful withholding of the requested

 records.

        3.      ICE is responsible, among other duties, for enforcing immigration laws in the

 interior of the country and has authority to identify, arrest, and, in certain cases, remove adult

 individuals who are determined to have entered the United States illegally. Through its office of
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 Enforcement and Removal Operations (ERO), ICE detains and manages individuals in custody

 until a final decision of removability or releasability is made by an immigration judge.

        4.      When a child is determined to be an “unaccompanied minor” under the Trafficking

 Victims Protection Reauthorization Act (“TVPRA”), he or she is transferred to ORR custody and

 assigned to a case manager who works to reunify the child with family members or friends in the

 United States who are capable of caring for them during the pendency of their removal

 proceedings.

        5.      While in ORR custody, unaccompanied minors also have access to legal service

 providers who provide them with Know Your Rights presentations and legal screenings, and who

 advise them with respect to their custody and removal. AI Justice is one such legal service provider

 serving four ORR shelters in the South Florida area.

        6.      If a child in ORR custody turns 18 before he or she is reunified with a sponsor in

 the United States, they “age out” of ORR custody and are placed in the custody of ICE and

 transferred to an adult detention facility

        7.      In 2013, Congress enacted a statutory provision to address the placement of

 unaccompanied immigrant children who have turned 18 and been transferred out of ORR and into

 ICE custody. 8 U.S.C. § 1232(c)(2)(B). This provision requires that ICE "shall consider

 placement" of such 18-year-olds "in the least restrictive setting available after taking into

 account the alien's danger to self, danger to the community, and risk of flight." Id. Furthermore,

 these children are eligible to “participate in alternative to detention programs . . . which may

 include placement of the alien with an individual or an organizational sponsor, or in a supervised

 group home.” Id.




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         8.       In April of 2018, AI Justice began monitoring the children who age out of the four

 ORR shelters in South Florida. From April 2018 to the time of filing this action, at least 137

 eighteen-year-olds in South Florida ORR shelters were taken to ICE detention facilities on their

 18th birthday.

         9.       In the time that AI Justice has been monitoring the placement of ORR age-outs in

 South Florida, AI Justice is not aware of any children being placed in a setting less restrictive than

 ICE detention upon their transfer from ORR custody.

         10.      It is ICE’s contention that the statute merely requires that ICE consider those

 placement options provided and coordinated by the child, or their counsel, on the date of their 18th

 birthday. Declaration of Supervisory Detention and Deportation Officer Simone Lee-Fatt at ¶10,

 A-O-F-B- v. Agudelo, et. al., No. 0:19-cv-61530-WPD (S.D. Fla., June 2, 2019), ECF No. 7-1. ICE

 further contends that they are not able to do any planning whatsoever in advance of a child’s 18th

 birthday and that they lack jurisdiction until the child turns 18. Id. at ¶6.

         11.

         12.      Mellissa Harper, Chief of the Juvenile and Family Residential Management Unit

 (“JFRMU”) for ERO, stated that ICE implemented a checklist on October 17, 2018 along with

 protocols for tracking age-outs and guidance made available to ICE officers in the JFRMU with

 the putative aim of implementing Section 1232(c)(2)(B). Deposition of Mellissa Harper at 16,

 Garcia Ramirez v. ICE, No. 1:18-cv-00508-RC (D.C. Cir., Apr. 1, 2019), ECF No. 140-2.

         13.      Despite ICE’s purported efforts to implement the statute, according to AI Justice

 records, all of the children who age out of the four South Florida shelters have been detained on

 their 18th birthdays since AI Justice started monitoring the issue in April 2018. See Sworn




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 Declaration of Lisa Lehner, A-O-F-B- v. Agudelo, et. al., No. 0:19-cv-61530-WPD (S.D. Fla., July

 9, 2019), ECF No. 8-2.

        14.     Based upon the pattern and practices of ICE in the Miami Field Office that appear

 to depart from those promulgated by headquarters, AI Justice submitted a FOIA request on January

 9, 2019 seeking records related to ICE’s policies and process in Miami for making custodial

 determinations for children who age out of ORR custody.

                                  JURISDICTION AND VENUE

        15.     This Court has jurisdiction over the subject matter of this Complaint and personal

 jurisdiction over the parties pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §§ 1331 and 1361.

 The Court’s review of this matter is de novo.

        16.     Venue is proper in this District under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §

 1391(e) because Plaintiff AI Justice’s principal place of business is located in the Southern District

 of Florida.

        17.     Declaratory and further necessary and appropriate relief is authorized pursuant to

 28 U.S.C. §§2201-2202 and Rule 57, Federal Rules of Civil Procedure, Fed. R. Civ. P. 57.

        18.     Plaintiff AI Justice has exhausted any and all administrative remedies in connection

 with its FOIA request and appeal.

                                              PARTIES

        19.     Plaintiff AI Justice is a non-profit organization with its principal place of business

 located at 6355 NW 36th Street, Suite 2201, Miami, FL 33166. AI Justice is a legal assistance

 organization dedicated to promoting the basic human rights of immigrants of all nationalities

 through public education, advocacy, and impact litigation since 1996. AI Justice champions the

 rights of unaccompanied immigrant children, advocates on behalf of victims of domestic violence




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 and human trafficking, serves as a watchdog on immigration detention practices and policies, and

 speaks for immigrants who have particular and compelling claims to justice.

        20.     Defendant DHS is a department of the executive branch of the United States

 government and is an agency within the meaning of 5 U.S.C. § 552(f). DHS is responsible for

 enforcing federal immigration laws. DHS has possession and control over the records sought by

 AI Justice.

        21.     Defendant ICE is a component of DHS and is an agency within the meaning of 5

 U.S.C. § 552(f).    Among other duties, ICE is responsible for enforcing immigration laws

 throughout and in the interior of the United States, including detaining non-citizens who enter

 without authorization and operating detention facilities for that purpose. ICE has possession and

 control over the records sought by AI Justice.

                                       STATEMENT OF FACTS

        22.     On January 9, 2019, AI Justice submitted a FOIA request to ICE seeking:

          1. All guidelines, directives, rules, policies, procedures, memoranda, reports,
             correspondence, communications or other documents that relate to
             the custody decisions pertaining to “age-outs” subject to the 8 U.S. Code §
             1232 (c)(2)(B) within the Miami Field Office area of jurisdiction from
             October 1, 2018 to present.

          2. All policies, memoranda, correspondence, and other documents related
             to an October 17, 2018 ICE policy requiring documentation of Title 8 U.S.
             Code § 1232 (c)(2)(B) decisions made by ICE regarding the manner of
             detention or release from detention of formerly unaccompanied minors who
             have turned 18 while in the custody of ORR, hereinafter referred to as “age-
             outs”.

          3. All documents uploaded since October 1, 2018 to a SharePoint page created
             for the purpose of documenting ICE officers’ considerations of
             the less restrictive setting for each “age-out” within the Miami Field Office
             area of jurisdiction pursuant to Title 8 U.S.C. § 1232 (c)(2)(B) including the
             form in which age out custody decisions are made and documented.




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          4. All guidelines, directives, rules, policies, procedures, memoranda, reports,
             correspondence, communications or other documents that relate to the number
             of age-outs transferred from ORR custody to ICE detention facilities within
             the jurisdiction of the Miami Field Office of ICE from October 1, 2018 until
             the present.

 See Exhibit A.

         22.      The FOIA request identified four separate categories of records sought and

 specified a narrow and relevant time period of documents dated between October 1, 2018 and the

 present, inclusive. Exhibit A.

         23.      Each sub-section of the FOIA requests a reasonably described the category of

 records sought and included sufficient information to allow ICE to conduct a reasonable search for

 responsive documents, as required by 5 U.S.C. § 552(a)(3)(A). Id.

         24.      AI Justice’s FOIA request also sought a fee waiver pursuant to 5 U.S.C. §

 552(a)(4)(iii). Id.

         25.      On February 14, 2019 AI Justice received an acknowledgment letter confirming

 receipt of its FOIA request and was advised that ICE was invoking a permissible ten-day extension

 within which to respond, due to the high volume of FOIA requests received at that time. Exhibit

 B. AI Justice was further informed that its fee waiver request had been denied. Id.

         26.      After several weeks with no response from ICE, on April 4, 2019, AI Justice filed

 an administrative appeal of ICE’s constructive denial of its FOIA request by failing to respond,

 and a restatement of its request for a fee waiver. Exhibit C.

         27.      The ICE Office of the Principal Legal Advisor (“OPLA”) issued an

 acknowledgment notice on April 12, 2019. Exhibit D.

         28.      On May 8, 2019, AI Justice received ICE OPLA’s “final” response to its appeal.

 Exhibit E. In this response, ICE stated that in many instances, an agency cannot meet the statutorily




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 required 20 to 30-day deadline citing, “a high volume of requests, resource limitations, or other

 reasons.” Id. ICE remanded the appeal to the ICE FOIA Office for the completion of processing,

 “including tasking to the appropriate agency/office(s) to obtain any responsive documents, and a

 direct response to you.” Id.

         29.     As of the date of the filing of this Complaint, AI Justice has received no substantive

 response since ICE OPLA remanded AI Justice’s appealed FOIA request back to the ICE FOIA

 Office for processing and re-tasking nearly three months ago, as of May 8, 2019.

         30.     AI Justice has exhausted administrative remedies as ICE failed to timely respond

 to its FOIA request and appeal as required by 5 U.S.C. § 552(a)(6)(C)(i). See also, e.g. Ruotolo v.

 Dep’t of Justice, 53 F.3d 4.8 (2d Cir. 1995) (“[A]dministrative remedies are ‘deemed exhausted’

 if the agency fails to comply with the ‘applicable time limit’ provisions of the FOIA.”).

                                       FIRST CAUSE OF ACTION

                                Violation of the Freedom of Information Act
                             for Failure to Respond Within the Time Required

         31.     AI Justice repeats, alleges and incorporates the allegations in paragraphs 1-30 as if

 fully set forth herein.

         32.     The FOIA requires agencies to determine within twenty days of a request for

 records whether the agency will comply with the request, and immediately notify the requester of

 the agency’s decision, the reasons therefore, and appeal procedures for adverse determinations. 5

 U.S.C. § 552(a)(6)(A)(i).

         33.     The FOIA further requires agencies to make a determination with respect to any

 appeal within twenty days after the receipt, and if the denial of the request for records is in whole

 or in part upheld, the agency shall notify the person making such request of the provisions for

 judicial review of that determination. 5 U.S.C. § 552(a)(6)(A)(ii).



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         34.      A requestor is deemed to have exhausted administrative remedies if the agency fails

 to comply with the applicable time limit provisions. 5 U.S.C. § 552(a)(6)(C)(i).

         35.      This Court has jurisdiction to enjoin an agency from withholding agency records

 and to order the production of agency records improperly withheld, after determining the matter

 de novo. 5 U.S.C. § 552(a)(4)(B).

         36.      Plaintiff AI Justice properly submitted a request to Defendant ICE for records under

 the FOIA and established that any applicable fees should be waived.

         37.      After ICE invoked a 10-day extension in both the initial request and the appeal, the

 deadline for ICE to make a determination passed with no response to AI Justice’s FOIA request

 from ICE, in violation of FOIA.

         38.      AI Justice further submitted an appeal to ICE regarding its FOIA request and has

 received no response for nearly three months, in violation of the FOIA.

         39.      Defendants have violated the applicable statutory time limit for processing of FOIA

 requests and appeals thereof.

                                      SECOND CAUSE OF ACTION

                                Violation of the Freedom of Information Act
               for Failure to Conduct a Reasonable Search and Disclose Responsive Records

         40.      AI Justice repeats, alleges and incorporates the allegations in paragraphs 1-39 as if

 fully set forth herein.

         41.      Defendants are obligated under 5 U.S.C. § 552(a)(3) to conduct a reasonable search

 for and to produce records responsive to AI Justice’s FOIA request, and to promptly produce them.

         42.      Upon information and belief, ICE has not conducted a reasonable search for records

 responsive to AI Justice’s FOIA request.




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         43.     On May 8, 2019, ICE acknowledged its failure to conduct a reasonable search for

 responsive documents and instructed the ICE FOIA Office that the request to be processed and re-

 tasked. See Ex. E. Since that time, AI Justice has not received any substantive communication or

 production from ICE.

         44.     Defendants’ continued failure to conduct a reasonable search for records responsive

 to AI Justice’s FOIA request and to disclose and release responsive records thus violates 5 U.S.C.

 § 552(a)(3)(A), (a)(3)(C) and (a)(6)(A), as well as regulations promulgated thereunder.

         45.     AI Justice has a legal right to obtain such records, and no legal basis exists for

 Defendants’ failure to search for and disclose them.

         46.     Injunctive relief is authorized under 5 U.S.C. § 552(a)(4)(B) because Defendants

 continue to improperly withhold agency records in violation of the FOIA. AI Justice will suffer

 irreparable injury from and have no adequate legal remedy for Defendants’ illegal withholding of

 government documents. Unless enjoined by this Court, ICE will continue to violate AI Justice’s

 statutory rights to receive records under FOIA.

                                   THIRD CAUSE OF ACTION

         Defendants Failed to Grant Plaintiffs Public Interest Fee Waiver Request

         47.     AI Justice repeats, alleges, and incorporates the allegations in paragraphs 1-46 as if

 fully set forth herein.

         48.     The FOIA requires that each agency promulgate regulations specifying the

 schedule of fees to be charged for processing a FOIA request. The Act further establishes

 procedures and guidelines for determining when such fees should be waived or reduced. 5 U.S.C.

 § 552(a)(4)(A)(i).




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         49.     The regulations must provide that documents “shall be furnished without any

  charge or at a charge reduced below the fees established . . . if disclosure of the information is in

  the public interest because it is likely to contribute significantly to public understanding of the

  operations or activities of the government and is not primarily in the commercial interest of the

  requestor.” 5 U.S.C. § 552(a)(4)(A)(iii).

         50.     AI Justice has sufficiently shown that they seek the requested records because they

  are in the public interest and contribute significantly to public understanding of the lawfulness of

  the placement of children who age out of ORR custody.

         51.     Moreover, an agency may not assess search or duplication fees if the agency fails

  to comply with any statutory time limit, if no unusual or exceptional circumstances (as those terms

  are defined in the statute) apply to the processing of the request. 5 U.S.C. § 552(a)(4)(A)(viii)(I).

         52.     AI Justice is independently entitled to obtain the requested records immediately at

  no cost due to Defendants’ failure to respond to its FOIA request within the statutory time limit.

         53.     AI Justice is further entitled to reasonable costs of litigation, including attorneys’

  fees, pursuant to 5 U.S.C. § 552(a)(4)(E).

                                          PRAYER FOR RELIEF

         Wherefore, plaintiff AI Justice respectfully requests that this Court:

         A.      Assume jurisdiction over this matter;

         B.      declare that Defendants’ failure to respond to AI Justice’s FOIA request and appeal

  within the statutory time limit violates the FOIA;

         C.      declare unlawful Defendants’ failure to conduct a reasonable search for records

  responsive to AI Justice’s FOIA request;

         D.      declare that Defendants’ failure to disclose such records violates the FOIA;




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         E.      order Defendants, including any of their respective components, to conduct a

  reasonable search responsive to AI Justice’s FOIA request;

         F.      order Defendants to process immediately and expeditiously AI Justice’s FOIA

  request, and to produce the requested records in their entirety without further delay;

         G.      order Defendants to grant AI Justice’s fee waiver and waive all fees associated with

  processing AI Justice’s FOIA request;

         H.      enjoin Defendants from withholding records responsive to AI Justice’s FOIA

  request;

         I.      award AI Justice reasonable attorneys’ fees and other litigation costs in accordance

  with 5 U.S.C. § 552(a)(4)(E); and

         J.      grant plaintiff AI Justice all further relief deemed just and proper.

  Dated: August 5, 2019

  Respectfully submitted,

   s/Allison Norris                                  s/ Lisa Lehner
   Allison Norris                                    Lisa Lehner
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